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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:


   DEFENDANT’S UNOPPOSED MOTION FOR LEAVE TO EXCEED PAGE LIMIT
   Defendant Stephen K. Bannon, through his undersigned counsel, respectfully moves for leave

to file a Motion To Dismiss The Indictment which exceeds by 10 pages the 45-page limit specified

in Local Crim. R. 47(e). In support of this Motion, we state as follows:

   1. On November 12, 2021, Mr. Bannon was indicted on two counts of Contempt of Congress,

       in violation of 2 U.S.C. § 192. [Doc. 1].

   2. The deadline for filing a Motion To Dismiss The Indictment is April 15, 2022. Minute

       Order (April 6, 2022).

   3. The Motion To Dismiss The Indictment involves, among other topics, the discussion of

       complex Constitutional separation of powers issues. It also involves the analysis of

       voluminous and detailed documents that present the official, authoritative position of the

       Department of Justice over many decades. The defense seeks an additional 10 pages

       (bringing the length of the brief to 55 pages) in order to address these materials and

       arguments based upon them.

   4. On April 14, 2022, the undersigned communicated via email with counsel for the

       Government and learned that the Government does not oppose this Motion.


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   WHEREFORE, Defendant Stephen K. Bannon, through his undersigned counsel, respectfully

requests that this Court grant Defendant’s Unopposed Motion For Leave To Exceed Page Limit.

Dated: April 14, 2022                     Respectfully submitted,

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                                          Counsel for Defendant




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                              CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this 14th day of April 2022, a copy of the foregoing

Defendant’s Unopposed Motion For Leave To Exceed Page Limit was filed through the Court’s

CM/ECF system and was served via electronic delivery on counsel of record.

                                              /s/ M. Evan Corcoran
                                           M. Evan Corcoran (D.C. Bar No. 440027)




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